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           IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE                     MEMORANDUM DECISION AND ORDER
 DISTRIBUTING CO.,                                ON P & G’S OBJECTION TO
                                                 DEFENDANTS’ REQUEST TO
                                                 PRODUCE LIVE WITNESSES
        Plaintiffs,


                vs.


 RANDY L. HAUGEN,                                    Case No. 1:95-CV-94 TS
        Defendants.




       This matter is before the Court on P & G’s Objection to Defendants’ Request to

Produce Live Witnesses. The Court has reviewed the parties’ positions and will sustain

the Objection as follows.

       The Court first finds that the request to produce live witnesses is untimely. A party

does not get to start over on discovery just because they received unfavorable rulings on

the Motions in Limine that were filed little more than a week before trial. Second, the Court

finds that three of the requested live witnesses are no longer P & G employees. The Court

has no authority to require P & G to produce persons at the last minute who are not P &

G employees. Third, the depositions of all of the requested witnesses were taken and it

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was agreed certain depositions would be used in lieu of live witnesses. Thus, Defendants

have the preserved testimony of the witnesses and are not prejudiced. Fourth, Defendants

fail to make a specific showing as to the need for the live testimony for any of the

requested witnesses except for Stephen David. In addition to the fact that he is no longer

a P & G employee, if Defendants did not lay sufficient foundation in his deposition to tie

any monthly sales reports prepared by him to the 1995 rumor, such exhibits are not

relevant and the Court does not see how Defendants could have assumed otherwise.

       Defendants contend that if their last minute demand to produce live witnesses is not

granted that they are entitled to have the Court instruct the jury that it may infer that any

testimony would have been negative.       The Court finds that such an instruction is not

warranted simply on the basis of P & G’s failure to agree to Defendants’ last minute

demand to change the long-standing agreement and produce live witnesses instead of

deposition testimony.

       DATED March 7, 2007.

                                          BY THE COURT:


                                          ___________________________________
                                          TED STEWART
                                          United States District Judge




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